     Case 2:20-cv-02373-DJH-ESW         Document 330-1       Filed 07/14/25     Page 1 of 4



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 8
       Attorneys for Plaintiffs
 9     Arizona Yagé Assembly and
       Winfield Scott Stanley III
10
11
                         IN THE UNITED STATES DISTRICT COURT
12                               DISTRICT OF ARIZONA
13
14     ARIZONA YAGÉ ASSEMBLY; et al.,                   No. CV-20-02373-PHX-DJH

15                  Plaintiffs,                         DECLARATION OF COUNSEL IN
                                                        SUPPORT OF PLAINTIFFS’ MOTION
16           v.
                                                        FOR ENLARGEMENT OF TIME
17     PAMELA BONDI, Attorney General of the
       United States, et al.,
18
19                  Defendants.
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              DECLARATION OF COUNSEL IN SUPPORT OF PLAINTIFFS’ MOTION FOR ENLARGEMENT OF TIME
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     Case 2:20-cv-02373-DJH-ESW         Document 330-1       Filed 07/14/25    Page 2 of 4




                            DECLARATION OF CHARLES CARREON
 1
       Charles Carreon declares and affirms:
 2
       I am an attorney admitted to this bar pro hac vice, and make the following statements based
 3
       on personal knowledge, and could and would so competently testify.
 4
       1. On July 10, 2025, the Court issued Dkt. #328, requiring Plaintiffs to submit their portion
 5
       of a Joint Statement concerning the privilege log by 9:30 a.m. Arizona time on July 14,
 6
       2025.
 7
       2. Unbeknownst to your undersigned declarant, when the order was issued, Melissa Dean,
 8
       the attorney tasked with performing all discovery matters, who created the privilege log,
 9
       and conducted all meet-and-confers with Defendants regarding the same, was under great
10
       pressure. She had to complete a major document production due Saturday, July 12, 2025.
11
       She was obliged to respond with opposition to the Defendants’ arguments against the
12
       viability of the Categorical Privilege Log. And on Sunday, July 13th, she was to spend the
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       day traveling to Boston to attend the 'Psychedelic Boot Camp' conference at Harvard Law
14
       School beginning July 14, an invitation-only event for legal professionals in this field.
15
       4. When Order Dkt. # 328 was issued, your undersigned was traveling all day to and from
16
       from Silver City, New Mexico to Tucson, Arizona to obtain vehicle repairs unavailable in
17
       Silver City. I briefly noted the email delivering the order on my phone, and based on prior
18
       task delegation directives, trusted Ms. Dean to meet any deadline contained therein.
19
       5. Ms. Dean did not tell me before she departed Florida for Massachussetts, that due to the
20
       time crunch that went from severe to unmanageable when Order Dkt. # 238 was issued,
21
       she had no plan in place to comply with the 9:30 am July 14th 9:30 a.m. deadline for service
22
       of the opposition portion of the Joint Statement. I learned this only when I read the full
23
       text of the Order Dkt. # 328 until 3:30 p.m. on July 14, 2025, when I got into my office and
24
       downloaded the Order and the government’s filing.
25
       7. Immediately upon discovering the missed deadline, I assumed full responsibility for
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       compliance and by this motion immediately sought leave to file Plaintiffs’ opposition by
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       July 18, 2025. I have read and conducted a preliminary analysis of the Defendants'
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                                                    2
     Case 2:20-cv-02373-DJH-ESW           Document 330-1      Filed 07/14/25    Page 3 of 4




 1     submission, and that analysis is articulated in the concurrently filed Memorandum of Points
 2     and Authorities. There are several, essential, meritorious arguments to made in favor of
 3     the position that Plaintiffs have supplied a useful, full compliant Categorical Privilege Log,
 4     of which I have identified some in the attached brief, and will identify additional ones in
 5     the brief that Plaintiffs seek leave to file.
 6     9. I would have preferred to file this motion contemporaneously with a copy of the
 7     opposition proposed to be filed. However, this matter is far too weighty, the arguments of
 8     the Defendants too dense, and the risk of a ruling before the filing of any opposition too
 9     high to allow the passage of days, and thus it is filed as soon as possible.
10     10. Based on my legal experience and review of the issues, I estimate that preparation of
11     an adequate opposition to Defendants’ submission will require approximately twenty (20)
12     billable hours of work—approximately four business days—to produce a brief suitable for
13     filing.
14     11. Plaintiffs themselves are in no way responsible for the delay. This situation arose
15     entirely from a failure in communication between junior and senior counsel. The error has
16     been disclosed to the client and he has approved the filing of this motion. The Court is
17     respectfully requested to consider the blamelessness of Plaintiffs with regard to this error.
18     12. Plaintiffs are requesting only as much of an extension as is absolutely necessary to
19     fulfill their obligation to present a thorough and professional opposition.
20     13. I sincerely apologize to the Court for any inconvenience caused by this failure to meet
21     the deadline in Order Dkt # 328, and submit that the foregoing facts establish innocent
22     neglect arising from miscommunications between senior and junior lawyers, cured as
23     swiftly as possible, causing no harm to the litigation process or prejudice to the Defendants.
24     Thus, granting this motion will further the Court’s policy of deciding matters, especially
25     ///
26     ///
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28     ///


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     Case 2:20-cv-02373-DJH-ESW         Document 330-1       Filed 07/14/25    Page 4 of 4




 1     matters of Constitutional privilege, on the merits, rather than based upon procedural
 2     defaults. Plaintiffs therefore request the Court to grant a requested extension of five court
 3     days.
 4
       I declare and affirm, pursuant to 28 U.S.C. § 1746(2), that the foregoing is true and
 5     correct under the law of the United States of America, and that this declaration was
       signed on July 14, 2025, at Silver City, New Mexico.
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 7                                          s/Charles Carreon
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